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                                  Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 1 of 20
  ws 44 (Rev. lzxovl                                                            CIVIL COVER SHEET
 The JS 44 civil cover sheet an(1 the in!lorlnalion contained herein neither replace nor sugplemcnt the filing and service ofpleadings or other Eapers as required by law, except as provided
 by local rules of"court. This form, approved by the Judrcial Conference of the United fates In September 8974, IS required for the use of t e Clerk of our for the purpose of lnxtlatnng
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

  I. (8) PLAINTIFFS                                                                                         DEFENDANTS
                                                                                                              Sean Fletcher and TireHub, LLC
 Santos Kamara
                                                                            /
    (b) County of Residence of First Listed Plaintiff                                                       County of Residence of First Listed Defemlant   C amd e n
                                (EXCEPT IN U,S, PLAINIIllF C.9(SES)                                                                 (IN u,s. FLAI IFF CASES ONLY)
                                                                                                                    NOTE: IN LAND CONDEMNA ION CASES, USE TIu>x:                              onOFTHE
                                                                                                                           LAND INVOLVED,

                 ' .                                -Be )                                                     Attorneys (If Known)
Val éf8e¢¢v2f:.€4=.(§9"u4-:*w=1:r,'a5""8'J°l°8l4°8'§8'n -2388 South Broad Street                         Laurianne Falcons, Marshall Dennehey Warner Coleman & Goggin
Suite 1830. Philadelphia, PA 19107215-988»0277                                                           2000 Market Street, Suite 2300, Philadelphia, PA 19103
                                                                                                         (215)575-2715
  II. BASIS OF JURISDICTION                         (Place an "X" in One Box Only)               111. CITIZENSHIP OF PRINCIPAL PARTIES(pla¢¢ an **x" in One aux rm mm\aff
                                                                                                          (Fm Diversiuy Cases only)                                           and One Bax for De&ndan\)
  oI    U.S. Govcmrncnt                 D 3 Federal Question                                                                            TF    DEF                                              1"IF      DEF
          Plains H"                            (U.S. Govcn\111cnt Not a Party)                       Citizen ofTl\is State             m l    cl 1       Incorporated or Principal Place        D 4      o 4
                                                                                                                                                         ofB1:sEness In This Sta£e

  D 2   U.S, G<>vc1n111cnt                    Diversity                                              Citizen of Another Seat         D 2            2    Incur]Jol*ated and Principal Place          s   Ms
           Defendant                                                                                                                                        ofBusiness In Anotller State
                                                (indicate Citizeusllip ofPartics in Item III)
                                                                                                     Citizen or Subject of a         D 3      D     3    Foreign Nation
                                                                                                       Foreign Caunlry                                         /                        I
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  IV. NATURE OF sf                        acc an "X" in One Box Only]
           CONTRACT                                           , TORTS                                  FORFEITURE/PENALTY                         BA »I /Q O UPTCY                   OTHER STATUTES
      I 10 Insurance                    PERSONAL INJURY                   PERSQNAL INJURY              | 628 Agric11It11r€              I-142      peal 28 USC 158            -|   400 State Reapportionment
                                     "I 310 Airplane                                                                                               9                          -|
      120 Marine                                                      "I 362 Personal Injury         "I 620 Other Fwd & Dnlg                 423 Wltlldrawal                       4 I0 Antitnlst
  -| 130 Miller Act                  " 315 Airplane Product                   Med. Malpractice       ` 625 Drug Related Seizure                 28 USC £57                    -|   430 Banks and Banking
  -| 140 Negotiable Instminent              Liabih m                  "I 365 Personal injury -               ofProperty 21 USC SB!                                            -|   450 Commerce
  -| 150 Recover W ofOverpay:nant - 320 Assault, Libel 4                      Product Liabill w      "1 630 Liqlluf Laws                                                           460 Deportation
          & Enforcemcnt of] judgment        Slander                   "1 368 Asbestos Personal       W 640 R,R, RC Tnlck                                                           470 Rackcwer Influenced and
      151 Medicare Act                '| 330 Federal Employers '              injury Product         'I 650 Airline Regs.                                                              Cornlpi Organizations
      152 Rccnvely of" Defaulted            Liability                         Liabih w               "I 660 Occupational                                                      -|   480 Conslllner Credit
          Student Loans              Cl 3 E Larine                     PERSONAL PROPERTY                      Safetyfiiealtll                                                 "I   490 Cable»"Sat TV
          (Excl. Veterans)                 5 amine Product            "1 370 Other Fraud              -. 690 Other                                                            "l   810 Selective Service
      E 53 Recovely Gf Overpayn1ent 9'      Li bility                 "I 371 Truth in Lending                     . LABOR                    SOCLALSECURITY                   -|   850 Securiticsi'Contm\IJditics1'
          of\feteran's Benefits      M 3 5 0 l tor Vehicle            '1 380 Other Personal          "| 710 Fair Labor Standards         `   861 HIA (13955)                           Exchange
      160 Stnckllolders' Suits      .    355 I otor Vehicle                   Properly Damage                 Act                        'l 862 Black Lung (923)              '    875 Customer Clmaiicnge
      190 Other Cenlract                      reduct Liabil: iv       - 385 Property Damage           -I 720 LaborRvIg1nl. Relations         863 DIWC/DIWW (405(g))                    12 USC 3410
   '| 195 Contract Product Liability ll    0 Other Personal                   Product Liability      '1 730 I.abon'Mgmt.Rcpo:1i11g       ' 864 SSID Tulle XVI                 'E   890 Other Statutory Actions
  "| 196 Franchise                           lnju                                                           8: Disclosure Act            ' l 865 RSI (405(»n)                 'I   891 Agricultural Acts
          REAL PROPERTY                    CIVIL RIGHTS                                              '1 740 Railway Labor Act                FEDERALTAX SUITS                      892 Economic Stabilization Act
  " 2 IN Land Condemnation           D 441 Voting                      -| 5 I0 Motions to Vacntc     'I 790 Other Labor Lihga£ion        -I 870 Taxes {U.S. Plaintiff         -|   893 Environlncntal Matters
      220 Foreclosure                -| 442 Employment                        Sentence               ' 791 Empl. Ret. Inc.                       or Defendant)                -|   894 Energy Ailocatioll Act
      230 Rent Lease x Ejectlnenl -| 443 Housing]                         Hqbggg Corpus:                    Security Act                 "I 871 IRS-Third Party               -|   895 Freedom of Information
      240 Torts lo Land                     ACCG!¥llBOdH.liOIIS        -| 530 General                                                           26 USC 7609                            Act
      245 Tort Product Liability     "I 444 Welfare                    -| 535 Dead; Penalty                 iIM1\'[IGRAT10N                                                   'I   900Appenl efFec Determination
      290 All Other Real Property    "1  445 Amer. w:Disabilitics »    *g 540 Mamfalmls & Other      -I 462 Naturalization Application                                                 Under Equal Access
                                            Employment                 -| 550 Civil Rights           -I 463 Habeas Corpus -                                                            lo Justice
                                     Cl 446 Amer. w/Disabilities -        555 Prison Co11di11on             Alien Deloinee                                                    CJ   950 CoiistiNatiorlalily of
                 r*                         Other
                                     U 440 Other Civil Rights
                                                                                                     'I 465 Other Irrnnigration
                                                                                                            Actions
                                                                                                                                                                                       Slate Statutes




  V, ORIGIN                  (Place an "X" in One Box Only)                                                                                                                                   Ap ea! to District
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                                                                                                                                                          D 6 Multidistrict          D 7      Magistrate
        Pro ceding             State Court                            Appellate Court                 Reopened                   fspccifyldistract             Litigation
                                                                                                                                                                                              Judgment
                                           Cite the U.S. Civil Statute under which you are Fling (Do not cite jurisdictional statutes unless diversity)
                                            28 U.S.C. 6 1441 1b12 28 U.S.C. 6 1332
  VI. CA         E O         ACTION        Brief description of cause:
                                            Motor vehicle accident                                                                                                                 /
  VII. REQUESTED IN   El CHECK IF THIS IS A CLASS ACTION                                                DEMAND $                                        CHECK YEs/only itdcmandcd In complaint
       COMPLAINT:          UNDER F.R,C,P, 23                                                                                                            JURY DEMAND;        M    s    0 No

  vm, RELATED CASE(S)
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        IF ANY                               JUDGE                                                                                           DOCKET NUN

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    RECEIPT 19                    AMOUNT                                ...      APVLYINGIFP                                   JUDGE                               MAG. JUDGE
                                                                          .
             Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 2 of 20

                                     IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                  CASE MANAGEMENT TRACK DESIGNATION FORM
                                                                                          CIVIL ACTION
Santos Kamara
                                   V.

Sean Fletcher and Tlrcllub, LLC                                                           no.
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Fonn in all civil cases at the time of
 filing the complaint and serve a copy on all defendants. (See § l :03 of the plan set faith on the reverse
 side of this fonn.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
 to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255.                                              ( )
(b) Social Security Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos - Cases involving claims for personal injuly or property damage from
    exposure to asbestos.                                                                                             ( )
(e) Special Management Cases that do not fall into tracks (a) through (d) that are
      commonly referred to as complex and that need special or intense management by
    ' the court. (See reverse side of this form for a detailed explanation of special
      management cases.)

(f`) Standard Management - Cases hat do not fall into any one of the other tracks.                                     J
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                                               '
5/31/2019
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                                                              ` ,-/ ,fI I
                                                                               Defendants, Sean Fletcher and Tirel-lub, LLC

Date                                           Attorney-Ht-law
                                               \                                      Attorney for
 215-575-2715                           Q   216-575-0856                          lafalcone@mdwcg.com

      ephone                                       FAX Number                        E-Mail Address


 (civ, say) 10/02
             Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 3 of 20

                                     IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                  CASE MANAGEMENT TRACK DESIGNATION FORM

Santos Kamala
                                                                                      CIVIL ACTION
                                   v.

Sean Fletcher and Tiredlub, LLC                                                       NO.

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(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(D Standard Management - Cases Yhat do not fall into any one of the other tracks,                                J
                                                ./ I              \
5/31/2019
                                                          .      / 2 //    Defendants, Sean Fletcher and TireHub, LLC

Date                                       »g          tto?ney-at-law            Attorney for
215-575-2715                              5213-575-0856                       lafalcone@mdwcg.com

      ephone                                      FAX Number                     E-Mail Address


(Civ. 660) 10/02
                              Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 4 of 20
                                                              UNITED STATES DISTRICT COURT
                                                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                            DESIGNAT ION FORM
                        (lo be used by COIHISEI or pro Se plainIwm indicate /Ile calegmy aflhe cnsefor /he purpose ofassignmenl lo the appropriate calendar

Address of Plaintif f :                                                206 Londonderry Lane, Darby, PA 19023
Address of Defendant:                                           1 Ravinia Drive NE, Suite 1300, Dunwoody, GA
Place of Accident, Incident or Transaction:                                                   Upper Merion Township, PA


RELATED CASE, IFANY:

Case Number:                                                      Judge:                                                                 Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an eerier numbered suit pending or within one year                                         Yes              Nu
       previously terminated action in this court?

2,     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                                       Yes              No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                                          Yes              No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second 01 successive habeas corpus, social security appeal, or pro se civil rights                                       Yes              No
       case filed by the same individual?
                                                                       f
I certify that, to my knowledge, the within case               i s / Mi s 1 1 0 i1€lated to an_};casQ,nq)v}3énding or within one year previously terminated action in
this court except as noted above.                                                                           /
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DATE; 05/31/2019                                                  <\
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                                                                           Afrorwey-at-LawI# / Pro Se Pfafnffg'                                      Arfo:ney ID. # (ifappffcabfe)


CIVIL.: [Place a \l in one category only)

A.             Federal Question Cases.                                                        B.            Drver.si{|» Juri.vr!rcfio:: Crises:

       l . Indemnity Contract, Marine Contract, and All Other Contracts                                     1.       Insurance Contract and Other Contracts
       2. F B L A                                                                                           2.       Airplane Personal Injury
       3. Jones Act~Pcrsonal Injury                                                                         3.       Assault, Defamation
       4, Antitrust                                                                                         4.       Marine Personal Injury
       5. Patent                                                                               J            5.       Motor Vehicle Personal Injury
       6. Labor-Management Relations                                                                        6.       Other Personal Injury (Please specy59 :
       7. Civil Rights                                                                                      7.       Products Liability
       8. Habeas Corpus                                                                                     8.       Products Liability ..... Asbestos
       9. Securities Act(s) Cases                                                                           9.       All other Diversity Cases
       IU. Social Security Review Cases                                                                              (Please specuj9.
       l l. All other Federal Question Cases
             (Please spec 9.



                                                                           ARBITRATION CI8R1IFICATION
                                                     (The e.wcf of!hLs cen{f3ca!io:1 is ro reprove the casejiorn eligibilffjffor a:bitfafio::.)


1,
                      Laurianne Falcone                        counsel of record or pro Se plaintiff; do hereby certify:

               Pursuant to Lock! Civil Rule 53.2, § 3(0) (2), that to the best of my knowledge and belief the damages recoverable in this civil action case
               exceed the sum otl$k50,000.00 exclusive of" interest and costs:

               Rcliefother than monetary damages is sought.
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DATE:       05/31/2019                                                            , Ii
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NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.F. 38.

Cid. 609 {.i"21)f8)
            Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 5 of 20



                        IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

SANTOS KAMARA                                       )
    Plaintiffs                                      )       CIVIL ACTION - LAW
                                                    )
                                                    )
                                                    )      JURY TRIAL DEMANDED
SEAN FLETCHER AND                                   )
TIREHUB, LLC                                        )      no.
     Defendants,                                    )

SANTOS KAMARA                                       COURT OF COMMON PLEAS
                                                    PHILADELPHIA COUNTY
               vs.

SEAN FLETCHER AND                                   APRIL TERM, 2019
TIREHUB, LLC
                                                    no. 4530

                                  NOTICE OF REMOVAL

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA:

       COMES NOW Defendants, Sean Fletcher and Tirehub, LLC, by and through their

undersigned counsel, pursuant to 28 U.S.C. §§ 1332 and 1441, and file this Notice of Removal of

the above lawsuit, originally filed in the Court of Common Pleas of Philadelphia County, State

of Pennsylvania, and in suppoit of their Notice of Removal, states as follows:

       1.       This is a civil action over which the district c0u11s of the United States have

original jurisdiction pursuant to 28 U.S.C. § 1332, and is one which may be removed to this

Court pursuant to 28 U.S.C. § 1441(a).

       2.       On or about April 30, 2019, Plaintiff filed a Complaint in the Court of Common

Pleas of Philadelphia County, State of Pennsylvania alleging claims for negligence.

       3.       Plaintiffs claims arise Hom an incident that occun'ed on or about October 27,

2018 which resulted in alleged personal injuries to the plaintiff while involved in a motor vehicle
             Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 6 of 20



accident. A copy of the court file for Philadelphia CCP April Term 2019, No. 4530 is attached

hereto and incolporated by reference as Exhibit A.

       4.       On or about May 24, 2019, the parties Bled a Stipulation to Amend the Caption to

identify the proper defendants as Sean Fletcher and TireHub, LLC. A copy of the Stipulation is

attached hereto and incorporated by referetlce as Exhibit A.

       5.       Under 28 U.S.C. § I441(a), "any civil action brought in a state court of which the

district courts of the United States have original jurisdiction, may be removed by defendant or

the defendants[.]" 28 U.S.C. § 1441(a),

        6.      Under 28 U.S.C. § 1332, the district courts of the United States have original

jurisdiction of "all civil actions where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between (1) citizens of different States." 28

U.S.C. § 1332.


        7.       Since Plaintiff lives in Pennsylvania, Defendant Sean Fletcher lives in New

Jersey, and Defendant TireHub, LLC has a principal place of business in Georgia, and is

incoiporated in Delaware, under 28 U.S.C. § 1332, the district courts of the United States have

 original jurisdiction over this matter, and thus, this civil action should be removed to this Couit

pursuant to 28 U.S.C § 1441(a).

        8.       Because Ti1'eHub, LLC and Sean Fletcher are the only properly named defendant

 in this matter, there are no other defendants that must consent to this removal.

        9.       Defendants were served with a copy of Plaintiffs Complaint on May 14, 2019.

 Therefore, this Notice of Removal has been timely filed within thirty (30) days after service

 pursuant to 28 U.S.C. § 1446.
          Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 7 of 20



       10.     Sean Fletcher and TireHub, LLC, simultaneously, with filing of this Notice of

Removal, have given written notice of their filing of this Notice of Removal to Plaintiff, and will

file a copy of the Notice of Removal with the P1'othonota1'y of the Court of Common Pleas of

Philadelphia County Pennsylvania.

        WHEREFORE, Sean Fletcher and TireHub, LLC, hereby request that the above

mentioned state court action be removed from Court of Common Pleas of Philadelphia,

Pennsylvania, to the United States District Court for the Eastern District of Pennsylvania.

                                             Respectfully submitted,

                                             MARSHALL DENNEHEY WARNER
                                             COLEMAN
                                                  n & GOGGIN   If/                        I
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                                              LAMMANNE FAMONE
                                              Ideiutifigzation No. <§5764
                                               2060 Market Street, Suite 2300
                                              phi1'a¢t¢1phia, PA 19103
                                              Phone: 215-575-2715
                                              Fax: 215 575-0856
                                              lafalcone@mdwcg.com
                                              Aftorneyfor Defendants
Dated: May 31, 2019
             Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 8 of 20




COMMONWEALTH OF PENNSYLVANIA
                                                                     SS
COUNTY OF PENNSYLVANIA


                                             AFFIDAVIT

        Laurianne Falcons, being duly sworn according to law deposes and says that the facts set
forth in the foregoing Notice of Removal are true and correct to the best of her knowledge,
information and belief.                                              s
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                                                                     §L'/QURIANNE FALCONE
                                                    I8

Sworn to and Subscribed                                          1
Before me this 38" day                                       /

o f m" 9           ,2019

                         tn


NOTARY PUBLIC
COMMONWEALTH Ur WNNUYLVANIA
           NOTARIAL SEAL
 Mary Frances Woodruff, Notary Public
 City of Philadelphia, Philadelphia County
 My commission expires Seplanber19,202 l
Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 9 of 20




                        EXHIBIT "A"
                    Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 10 of 20


        Court of Common Pleas ofPhiladelphia County                                                                                                          F nrPmI onota Use Only (Docket Numtierl
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                                 Trial Division                                                                                                                                             -.    . . I "'a .|
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PLAINTIFF'S NAME                                                                                                              DEFENDANTS NAME
 S AN T O S K AM AR A                                                                                                              S E A N F L E T C HE R


PLNNTIFF s ADDRESS                                                                                                           DEFENDANTS ADDRESS
 206 LONDONBERRY LANE                                                                                                              3111 WALDORF AVENUE
 DARBY PA 19023                                                                                                                    CAMDEN NJ 08105


PLAINTIFF s NAME                                                                                                              DEFENDANTS NAME
                                                                                                                                    THE GOODYEAR TIRE AND RUBBER COMPANY


P1.AINTlFFS ADDRESS                                                                                                           DEFENDANVS ADDRESS
                                                                                                                                    1144 E MARKET STREET
                                                                                                                                    AKRON OH 44316


PLAINYIFF'S NAME                                                                                                              OEFENOANrS NAME




PLNNTIFF S ADDRESS                                                                                                            DEFENDANTS ADDRESS




Tom. NUMBER OF PLAINTIFFS               TOTAL NUMBER OF DEFENDANTS                                             COMMENCEMENT OF ACTION
                                                                                                                   -... WH: ofSummon8
                                                                                                                   Y Complain                                             Petition Action                      Notice of Appeal
                1                                                     2             (
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    $50,000.00 or less
                                    -   Arbitration                                                  `Mass .Twit -                              4                         C ommer c e                         Settlement
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 Y More than $50,000.00             Y No n J u r y . .
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 REMWED PENDING CASES (LIST BY CASE CAPTICN AND DOCKET NUMBER)                                                        FILED                                                                    COQRFJINATION ORDER?
                                                                                                                   PRO PROTHY                                                                              YES             NO


                                                                                                               APR 30 2019
                             »                                                                                      A. SILIGRINI

 TO THE PROTHONOTARY.
 Kindly enter my appearance on behalf of Plaintiff7Petitioner/Appellant. SANTOS KAMARA
 Papers may be served at the address set forth below.

 NAME OF PLNNTIFF'SlPETIIIONER'SlAPPELlANTS ATTORNEY                                                                              ADDRESS

   VOL P .      W I L S ON
                                                                                                                                    ONE SOUTH BROAD
                                                                                                                                    SUITE 1830
 PHONE NUMBER                                 FAXNUMBER                                                                                PHILADELPHIA PA 19107
    (215) 988 9277                             (215)988 1580

  SUPREME COURT IDENTQFIOATION NO.                                                                                                E MAIL ADDRESS
   25787                                                                                                                               vpw@wjzlaw com

 SIGNATURE OF FILING ATTORNEY OR PARTY                                                                                            DATE SUBMITTED

   VAL W IL SON                                                                                                                        Tuesday, April 30, 2019,                                        03.47 pm
                                                                                                                                           .. l-»..-l.._ ..__. ~..»»
         Case 2:19-cv-02380-TR Document 1 Filed 05/31/19 Page 11 of 20




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WILSON AND Jol-1nson                                                MAJOR CASE                   Filed              A8 s¢Ele&"=~by
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BY: VAL FLEET WILSON, ESQUIRE                                                      of f i c e 2                                »0 f cords
LD. NO. 25787                                                                            30 u                                  é., 3 pm
ONE SOUTH BROAD .. 18TH FLOOR                                       2V-Motor Vehicle Accldeii§'                       =za-_';4}V 'l g
ONE SOUTH BROAD STREET                                              Assessment of Damages Hea5.8;Tg:11nW**!
P1~1H,ADELPH1A, PA 19107                                            R eq ui r ed .
(215)988-9277
ATTORNEY FOR pLA1nT11=1=s


SANTOS KAMARA                                                                 Court of Common Pleas
206 Londonderry Lane                                                          Philadelphia County
Darby, PA 19023
                                                                               Trial Division
           v.                                                                  April Term 2019

SEAN FLETCHER                                                                  Civil Action
31 ll Waldorf Avenue                                                           No.
Camden, NJ 08105
 _     AND .
THE GOODYEAR TIRE AND RUBBER
CQMPANY
1144 E Market Street
Akron, OH 44316-0001

                                                       COMPLAINT
                                                     NOTICE TO DEFEND
You have been sued In court. If you wish to defend                  Le han demsndsdo a used en is carte. Si used quire
against the claims sat forth In the following pages. You            fendarsa de esters demanders expaestas an las paginas
must take action wllhln twenty (20) days after this complain!       sigulentes, usted tlene velnle (20) dias de piazao al partir
and notice are served, by entering a written appearance             do la fecha de is demands y Ia notlticacion. Hace falls
personally or by attorney and filing In writing lni£h the           asentar Una comparencta escrtta n persons a con on
court your defenses or objections Io the claims set forth           abogado y anlregar a Ia corn forma escrila Sus defenses
against you. You are weened that If you fel! to do so the           o Sus objecltones a las damandas an contra de su persons.
case may proceed without you and e judgrnent may be                 Sea avisado quo Si used no so defiondo, Ia aorta tomara
entered against you by the court without further notice             medidas Y puede oontlnuar Ia demands en contra sure stn
for any money claimed in the complaint or for any other             prevlo aviso a noliticecion. Ademas, Ia cone puede decldlr
cairn or relief requested by the plaintiff. You may lose            e favor det domandante y requiere que used cumpla con
money or property or other rights important to you.                 ledas les prodslones de este demands. Usted puede
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    PHILADELPHIA BAR ASSOCIATION                  ASOCIACION DE LICENCIAOOS DE FILADELFIA
    LAWYER REFERRAL AND INFORMATION SERVICE       SERVICIO DE REFERENCIAL LEGAL

    ONE READING CENTER                            Ons Reading Cenler
    PHILADELPHIA, PENNSYLVANIA 19107              Flladelphla . Pannsylvanla 19107
    (215)238-1701                                 (215)238-1701




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WILSON AND JOHNSON                                  MAJOR CASE
BY: VAL PLEET WILSON, ESQUIRE
ID. NO. 25787
ONE SOUTH BROAD .. 18TH FLOOR                       2V-Motor Vehicle Accident.
ONE SOUTH BROAD STREET                              Assessment of Damages Hearing
PHILADELPHIA, PA 19107                              Required.
(215)988-9277
ATTORNEY FOR PLAINTIFFS


SANTOS KAMARA                                       .C    Court of Common Pleas
206 Londonderry Lane                                      Philadelphia County
Darby, PA 19023
                                                           Trial Division
      v.                                                   April Term 2019

 SEAN FLETCHER                                             civil Action
 3111 Jaidorf Avenue                                       No.
                                 a
   Emden, NJ 08105
         AND
 THE GOODYEAR TIRE AND RUBBER
 COMPANY
  1144 E Market Street
  Akron. OH 44316-0001
\
                           COMPLAINT

       1.     plamritf, SANTOS KAMARA, is an adult individual residing at the above
captioned address.

       2.     Defendant, SEAN FLETCI-ER, is an adult individual residing at the above captioned
address.

       3.     Defendant, THE GOODYEAR TIRE AND RUBBER COMPANY (hereinafter
"GOODYEAR"), is a corporation with a registered office for service of process and offices at the above
captioned address.

        4.     Defendant, GOODYEAR, is a corporation that conducts business in the City and County
oflPhiladelphia.

       5.     Defendant, SEAN FLETCHER, was the driver of the vehicle involved in this
accident and was a pemlissive user of the vehicle he was operating at the time of the subject motor


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vehicle accident.


       6.      Defendant, SEAN FLETCHER, was, at all relevant and material times, the
workman, servant, agent and/or employee of Defendant, GOODYEAR, and was then and there
acting in the course and scope of such work, servitude, agency or employment.


       7,      Defendant, GOODYEAR, was the owner of the vehicle Lnvnlved in this
accident.


       8.      When used herelul, unless otherwise set forth, the term Plaintiff shall include all
Plaintiffs and the term Defendant shall include all Defendants. The term Defendant shall include
all and any agents, servants, employees or workers of the Defendant. ,


       9.      Plaintiff reserves the right to amend the complaint to reflect the correct legal
identity and/or address of any parties referred to herein.


        10.    All material facts and occurrences took place on October 27, 2018 on 1-76
Eastbound at or near MM 330 in Upper Merion Township, Montgomery County, Pennsylvania.


        ll.    On or about October 27, 2018, at or near the above described location, Plaintiff,
SANTOS KAMARA, was lawfully and careiiilly operating a motor vehicle and was stopped in
traffic when he was forcefully and violently struck in the rear by a vehicle operated by Defendant
SEAN FLETCHER and owned by Defendant, GOODYEAR, with the result that the Plaintiff
suffered at least the severe and serious injuries hereinaiier set forth.


        12.    On or about October 27, 2018 on 1-76 Eastbound at or near MM 330 in Upper
Merion Township, Montgomery County, Pennsylvania, Plaintiff SANTOS KAMARA, was
operating a motor vehicle,


        13.     On or about October 27, 2018 on 1-76 Eastbound at or near MM 330 in Upper
Merion Township, Montgomery County, Pennsylvania, Defendant, SEAN FLETCHER, was
operating a motor vehicle. ,


        14.     On or about October 27, 2018 on I~76 Eastbound at or near MM 330 in Upper
Marion Township, Montgomery Coimty, Pennsylvania there was an impact between the vehicle
Operated by Defendant SEAN FLETCHER and the vehicle operated by Plaintiff.


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          15.    Defendant SEAN FLETCHER was negligent in the operation of his vehicle.


          16.   Defendant GOODYEAR is vicariously liable for the negligence of the driver of
    the Defendant vehicle, SEAN FLETCHER.


          17.   The negligence of the Defendants includes :


                A.        Operating their vehicle at a high, dangerous speed under the
          cucumstances,


                B.     Failing to have the vehicle under proper control;


                C.        In crashing into the rear of another vehicle,


                D.        In that the Driver was inattentive and failed to maintain a sharp lookout of
                          the road and the surrounding traffic conditions,


                18.       In being inattentive and colliding with another motor vehicle;


                F.        In failing to properly inspect vehicle for any mechanical defects;


                 G.       In violating the various statutes and municipal ordinances pertaining to the
                          operation to the operation of motor vehicles O11 public thoroughfares under
                          the circumstances ,


                 H.       In driving and or operating the vehicle 'm a negligent and/or careless
                          manner under the circumstances ;


                 1.       In proceeding in the direction of another vehicle when Defendants knew
                          or in the exercise of reasonable care should have known that doing so
                       would result in a collision with another vehicle and would foreseeably
                          result in the severe and serious injuries incurred by the Plaintiff;


                 J.       I.n failing to maintain proper lookout for the presence of other motor
                          vehicles on the road,


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                     K.        In operating a vehicle in a manner not consistent with the traffic and/or
                               road and weather conditions prevailing at the time,


                     L.        In not yielding the right of way;


                     M.        kl violating the rules of the road and or 'm driving negligently


                     n.        In failing to maLnta'm a safe and adequate distance between the Defendant
                               vehicle and PIal1ntiff's vehicle;


                     o.        In failing co stop for traffic on the roadway;


                     p.        In failing to maintain an assured, clear distance between the Defendant's
                               vehicle and Plaintiffs vehicle;


                     Q.        In operating a motor vehicle at an unsafe speed under the circumstances;

                     R.        In violating 75 Pa.CS. Section 3321 - Vehicle approaching or entering

                               intersection;


                         s.     In violating 75 Pa C.S. Section 3111- Obedience to traffic control
                                devices;

                         T.     In violating 75 Pa.CS. Section 3112 .. Traffic Control Signals;

                         U.     In violating 75 PACS Section 3361.. Driving Vehicle at safe speed;

                         v.     In violating 75 Pa.CS. Section 3714 - Careless Driving;

                         w.     In violating 75 Pa.C1S. Section 3310.-. Following too closely;

                         x.     In being otherwise careless, recldess, and or negligent in the operation of a

        motor vehicle.



               18.       The violations of the motor code by defendants as set forth above are negligence



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        per Se.


         _        19.   The negligence of the defendants and or the negligence of their employees and or
        agents and or the joint and/or several negligence of the above defendants and or the negligence
        of their employees and or ageNts was a factual cause of the accident and of the injuries and
        damages sustained by Plaintiff. In the alterative, the negligence of the defendants and or the
        negligence of their employees and or agents and or the joint and/or several negligence of the
        defendants and or the negligence of their employees and or agents was a substantial factor in
        causing the accident and injuries and damages sustained by Plaintiff


                  20.   The accident was factually caused by the joint and/or several negligence and/or
        recldessness of the Defendants and in no way was caused by the Plaintiff


                  21.   The negligence of the Defendants was a factual cause of the following damages to
        Plahitiff, SANTOS KAMARA:


                        A.     kljuries, dysfunctions, impairments, serious impairments, permanent
                                impairment of a body function, pain and trauma to various parts of the
                                body, including injury to the spine, aches and pains, pain and suffering
                                and or other injuries

                        B.      Past Medical Expenses

                        c.      Future Medical Expenses

                        D.      Past Lost Earnings and Lost Earnings Capacity

                        E.      Future Loss of Earnings and Lost Earning Capacity

                        F.      Past Pain and Suffering

                        G.      Future Pain and Suffering

                        H.      Past Embarrassment and Humiliation

                        1.      Future Embarrassment and Humiliation

                         J.     Past Loss of Ability to Enjoy the Pleasures of Life

                         K.     Future Loss of Ability to Enjoy the Pleasures of Life



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                      L.      Disfigurement

                      M.      Loss of Consortium

                      n.      Emotional Distress

                      o.      Property Damage

                      P.      Incidental Costs

               22.    Plaintiff requests punitive damages.



                                                 COUNT ONE
                  PLAINTIFF SANTOS KAMARA v. DEFENDANT SEAN FLETCHER

               23.     Paragraphs 1 through 22 are incoiporated by reference herein.


               WHEREFORE, Plaintiff bring this action against Defendant to recover damages in a
        sum in excess of fifty thousand dollars ($50,000), plus interest, costs, and delay damages under
        Rule 238, Pemisylvania Rules of Civil Procedure and punitive damages.



                                       COUNT TWO
                     PLAINTIFF SANTOS KAMARA v. DEFENDANT GOODYEAR

               24.     Paragraphs 1 through 23 are incorporated by reference herein.


               WHEREFORE, Plaintiff bring this action against Defendant to recover damages in a
        sum in excess of fig thousand dollars ($50,000), plus interest, costs, and delay damages under
        Rule 238, Pennsylvania Rules of Civil Procedure and punitive damages.


                                                                    Respectfully Submitted,


                                                                    Isl Val Pleet Wilson

                                                                    Val Pleet Wilson, Esquire
                                                                    Attorney for Plaintiff



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                                  VERIFICATION

                                                                            /
                                 Santos Kamala
                         I.                             , hereby state:               I


                         1.    I am a Plaintiff in this action;

                          2.   I verify that the statements made in the ,
                               foregoing are true and correct to the best
                               of my knowledge, information and belief;
                               and

                         3.    I understand that the statements in said
                               PLEADING are made subject to the penalties
                               of 18 pa. C.S.§ 4904 relating to unsworn
                               falsification to authorities.          .




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SANTOS KAMARA
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V.                                                 SEPTEMBER TERM 2019                     ( ,
                                                   no. 4530
SEAN FLE'llCH]:':R

and

THE GOODYEAR TIRE AND
RUBBER COMPANY


                            STIPULATION TO AMEND CAPTION

       The parties herein agree that the proper defendants in this Matter are "TireHub, LLC" and
"Sean Fletcher". "The Goodyear Tire and Rubber Company" is hereby dismissed from this
action. The caption shall be amended accordingly



WILSON & JOHNSON                                   MARSHALL DENNEHEY WARNER
                                                   COLEMAN & GOGGIN
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By:                                                By'
       VAL FLEET WILSON                                   LAURIANNE FALCONE
       Attorney for Plaintiff                             Attorney for Defendants
